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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

CARLOS BARREDO,                                                                         Plaintiff,

v.                                                      Civil Action No. 3:18-cv-836-DJH-LLK

BENJAMIN B. CLIFTON and MARTEN
TRANSPORT LIMITED,                                                                  Defendants.

                                          * * * * *

                                           ORDER

       The parties have filed a stipulation of dismissal with prejudice signed by all parties who

have appeared. (Docket No. 13) Accordingly, and the Court being otherwise sufficiently

advised, it is hereby

       ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) and is STRICKEN from the Court’s active docket. All dates

and deadlines set in this matter are VACATED. All pending motions are DENIED as moot.

       February 25, 2019




                                                         David J. Hale, Judge
                                                      United States District Court
